             Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONRAI MEMORY LIMITED,

                   Plaintiff,                        Case No. 6:21-CV-00116-ADA

         v.

ORACLE CORPORATION,

                   Defendant.



                      JOINT CLAIM CONSTRUCTION STATEMENT

       Pursuant to the Scheduling Order in this case (Dkt. No. 21) and the Court’s Updated Order

Governing Proceedings—Patent Case (“Updated OGP”),1 Plaintiff Sonrai Memory Limited

(“Sonrai”) and Defendant Oracle Corporation (“Oracle”) file this Joint Claim Construction

Statement.

I.     AGREED CONSTRUCTIONS

       For U.S. Patent 6,829,691 (“the ’691 patent”), the sole patent-in-suit, the parties agree that

“memory controller” should be construed as “a circuit that issues the electrical control and physical

address signals to a memory that cause the memory to read or write data.” The parties also agree

that the phrase “claim 21” as it appears in claim 29 should be construed as “claim 28.”




1
 OGP Version 3.5.1, available at https://www.txwd.uscourts.gov/wp-
content/uploads/Standing%20Orders/Waco/Albright/Standing%20Order%20Governing%20Proce
edings%20in%20Patent%20Cases%20111721.pdf.

                                                 1
          Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 2 of 6




II.    DISPUTED TERMS FOR CONSTRUCTION

       Exhibit A sets forth the parties’ respective proposed constructions for each of the disputed

claim terms and phrases of the ’691 patent.



Dated: December 6, 2021                       Respectfully submitted,

                                              /s/ Amy E. Hayden

                                              Reza Mirzaie (CA SBN 246953)
                                              rmirzaie@raklaw.com
                                              Marc A. Fenster (CA SBN 181067)
                                              mfenster@raklaw.com
                                              Brian D. Ledahl (CA SBN 186579)
                                              bledahl@raklaw.com
                                              James Milkey (CA SBN 281213)
                                              jmilkey@raklaw.com
                                              Amy E. Hayden (CA SBN 287026)
                                              ahayden@raklaw.com
                                              Christian W. Conkle (CA SBN 306374)
                                              cconkle@raklaw.com
                                              Jonathan Ma (CA SBN 312773)
                                              jma@raklaw.com
                                              David T. Shackelford (CA SBN 318149)
                                              dshackelford@raklaw.com
                                              RUSS AUGUST & KABAT
                                              12424 Wilshire Blvd., 12th Floor
                                              Los Angeles, California 90025
                                              Telephone: (310) 826-7474
                                              Facsimile: (310) 826-6991

                                              Attorneys for Plaintiff Sonrai Memory Limited




                                                 2
Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 3 of 6




                           By: /s/ John M. Guaragna

                           John M. Guaragna (Bar No. 24043308)
                           DLA PIPER LLP (US)
                           401 Congress Avenue, Suite 2500
                           Austin, TX 78701-3799
                           Telephone: (512) 457-7000
                           Facsimile: (512) 457-7001
                           john.guaragna@us.dlapiper.com

                           Kathryn Riley Grasso (admitted pro hac vice)
                           DLA PIPER LLP (US)
                           500 Eighth Street, NW
                           Washington, DC 20004
                           Telephone: (202) 799-4181
                           Facsimile: (202) 799-5215
                           kathryn.riley@us.dlapiper.com

                           Dawn M. Jenkins (Bar No. 24074484)
                           Jackob Ben-Ezra (Bar No. 24073907)
                           DLA PIPER LLP (US)
                           1000 Louisiana Street, Suite 2800
                           Houston, TX 77002-5005
                           Telephone: (713) 425-8400
                           Facsimile: (713) 425-8401
                           dawn.jenkins@us.dlapiper.com
                           jackob.ben-ezra@us.dlapiper.com

                           Attorneys for Defendant Oracle Corp.




                             3
                            Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 4 of 6




                                                        EXHIBIT A

# ’691 Patent Claim Term or         Plaintiff Sonrai’s Proposed           Defendant Oracle’s Proposed             Party or Parties
  Phrase for Construction           Construction                          Construction                            Proposing Term
                                                                                                                  for Construction
1 “compression/decompression        “logic that can compress or           “logic that can compress and            Oracle
  logic”                            decompress data”                      decompress data”

  (claims 1 and 21 of the ’691
  patent)
2 “logic for”                       Plain and ordinary meaning; not       Means-plus-function under 35            Oracle
                                    means-plus function                   U.S.C. § 112 ¶ 6 (pre-AIA)
    (claim 1 of the ’691 patent)
                                    Alternatively, if means-plus-
                                    function:                             Function: “directing transfer of data
                                                                          from said first memory array via
                                    Function: “directing transfer of data said first bus to be processed by
                                    from said first memory array via      said compression/decompression
                                    said first bus to be processed by     logic and then transferred to said
                                    said compression/decompression        second memory array via said
                                    logic and then transferred to said    second bus”
                                    second memory array via said
                                    second bus”
                                                                          Structure: indefinite
                                    Structure: memory controller or
                                    other logic (e.g., an operating
                                    system)

3   “selection logic for”            Plain and ordinary meaning; not      Means-plus-function under 35            Oracle
                                     means-plus function                  U.S.C. § 112 ¶ 6 (pre-AIA)
    (claim 21 of the ’691 patent)
                                     Alternatively, if means-plus-        Function: “selecting and coupling
                                     function:                            a first of said busses to said


                                                              1
                      Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 5 of 6




# ’691 Patent Claim Term or   Plaintiff Sonrai’s Proposed          Defendant Oracle’s Proposed        Party or Parties
  Phrase for Construction     Construction                         Construction                       Proposing Term
                                                                                                      for Construction
                                                                   compression/decompression input”
                               Function: “selecting and coupling   and “selecting and coupling a
                               a first of said busses to said      second of said busses to said
                               compression/decompression input”    compression/decompression
                               and “selecting and coupling a       output”
                               second of said busses to said
                               compression/decompression           Structure: indefinite
                               output”

                               Structure: memory controller or
                               other logic (e.g., an operating
                               system)




                                                       2
          Case 1:22-cv-00094-LY Document 38 Filed 12/06/21 Page 6 of 6




                               CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record who are deemed to have consented to

electronic service are being served with a copy of this document via the Court’s CM/ECF system on

December 6, 2021.


                                                            /s/ Amy E. Hayden
                                                            Amy E. Hayden
